Case 2:20-cv-09604-KS Document 20 Filed 04/29/21 Page 1 of 1 Page ID #:36




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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
10
11   VERNON SMITH,                           ) No. CV 20-9604-KS
                                             )
12                                           )
           Plaintiff,                        ) JUDGMENT OF REMAND
13                                           )
                  v.                         )
14                                           )
     ANDREW SAUL,                            )
15   Commissioner of Social Security,        )
                                             )
16                                           )
           Defendant.                        )
17                                           )
                                             )
18
19         The Court having approved the parties’ Stipulation to Voluntary Remand
20   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
21   (“Stipulation ”) lodged concurrent with the lodging of the within Judgment of
22   Remand, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the
23   above-captioned action is remanded to the Commissioner of Social Security for
24   further proceedings consistent with the Stipulation to Remand.
25
26   DATED: April 29, 2021
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28                                               KAREN L. STEVENSON
                                           UNITED STATES MAGISTRATE JUDGE
